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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                           CASE NO.: 1:05cr39-SPM/AK

JENISE ANGELLA MAGAROO,
KEARA NIKYELA JOHNSON, and
ASHLIE EBONY MOTHERSILL,

           Defendants.
______________________________/

              ORDER CONTINUING SENTENCING HEARINGS

       This cause comes before the Court on the Motion to Continue Sentencing

(doc. 406) filed by Defendant Keara Nikelya Johnson. Upon consideration, it is

       ORDERED AND ADJUDGED:

       1.    The Motion to Continue Sentencing (doc. 406) is granted.

       2.    The sentencing hearings for Defendants Jenise Angella Magaroo,

Keara Nikyela Johnson, and Ashlie Ebony Mothersill are continued to 2:00 p.m.

on Tuesday, February 12, 2008, at the United States Courthouse in Gainesville,

Florida.

       DONE AND ORDERED this 7th day of January, 2008.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
